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_ Exhibit D
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Haefele, Robert

From: Lisa Angelo [langelo@martinmcmahonlaw.com]
Sent: _ Wednesday, April 12, 2006 1:13 PM

To: Haefele, Robert

Subject: RE: Response your inquiry to Justin Kaplan

Thank you for your response. I was just about to send Jodi Flowers an e-mail on this
matter; however, I will direct it to you instead.

Simply stated, we barely received a copy of your Exhibit B as of yesterday April 11, 2006.
Had we known your firm was moving for a default against three of our clients, we would
have entered into a dialogue with you as we have with the Federal Ins. and O'Neil
Plaintiffs and asked for a stipulation for an extension of time so we could have an
opportunity to respond to your complaint.

Given the current situation, however, instead of a stipulation, we ask if your firm would
consider a consent motion to vacate the default as it relates to three of our clients:

1. Sanabil, Inc. & Sanabel Al Kheer

2. Al Shamal Islamic Bank

3. Tadamon Islamic, Bank

Please advise of your position on this request.
Thank You.

Lisa D. Angelo, Esq.

Martin F. McMahon & Associates
1150 Connecticut Ave. N.W.
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Washington, DC 20036

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----H Original Message-----

From: Haefele, Robert [mailto:rhaefele@motleyrice.com]
Sent: Wednesday, April 12, 2006 12:58 PM

To: Langelo@martinmcmahonlaw.com

Cc: Kaplan, Justin

Subject: Response your inquiry to Justin Kaplan

Dear Lisa:

I received a message forwarded to me from Justin Kaplan. I understand that you have some
concerns regarding default papers that the plaintiffs in Burnett filed fairly recently.

If you will address your questions in this regard to me, I would be happy to take a look
at them and try to get you some answers for you. I anticipate being out of the office for
a few days, but if you get your inquiries to me today or tomorrow, I assure you that I
will endeavor to respond to your inquiries by either Tuesday or Wednesday of next week,
after I have had an opportunity to review the files related to your questions. I look
forward to hearing back from you.

Sincerely,

Robert T. Haefele
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